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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MEDICAL IMAGING &
TECHNOLOGY ALLIANCE, et al.,
                               Plaintiffs,
                                                      No. 1:22-cv-499 (BAH)
v.
LIBRARY OF CONGRESS, et al.,
                               Defendants.


                           MOTION TO SET AN ORAL HEARING

       Pursuant to Federal Rule of Civil Procedure 7 and Local Rule 7(f), plaintiffs’ respectfully

move the Court to permit an oral hearing on the pending dispositive cross-motions. See Dkt. 10

(plaintiffs’ motion for summary judgment); Dkt. 16 (defendants’ motion to dismiss).

       Plaintiffs’ complaint and motion for summary judgment establish their entitlement to relief

from a final rule promulgated by the Library of Congress under the Digital Millennium Copyright

Act. In their motion to dismiss, defendants challenge the Court’s authority to hear this lawsuit,

questioning the availability of review under the Administrative Procedure Act. They also respond

to plaintiffs’ arguments on the merits, including those concerning the fair-use doctrine and the

proper implementation of the DMCA.

       Plaintiffs respectfully submit that an oral hearing on the pending cross-motions would

assist the Court in assessing the merits of the parties’ respective arguments. It would ensure the

Court has all of the information it needs and give it an opportunity to fully ventilate the issues with

the assistance of the parties’ counsel, before rendering a decision.

       In light of the time-sensitive nature of this suit, plaintiffs respectfully request that, if the

Court grants this motion, it set a hearing for the earliest date convenient to the Court. In the event

the Court grants this motion but sets the hearing for late October, undersigned counsel gives notice

that he has oral arguments scheduled on October 24, 2022 in the U.S. Court of Appeals for the



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Second Circuit and on October 26, 2022 in the U.S. Court of Appeals for the Fourth Circuit and

very much appreciates the Court’s consideration of those conflicts.

       Pursuant to Local Rule 7(m), undersigned counsel states that he has conferred with counsel

for defendants, who take no position on the relief requested in this motion.

       Wherefore, plaintiffs respectfully request that the Court schedule an oral hearing in this

case for the earliest date convenient to the Court.

Dated: September 6, 2022                              Respectfully submitted,

                                                      /s/ Michael B. Kimberly
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